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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Lori Wigod
                                      Plaintiff,
v.                                                       Case No.: 1:19−cv−00391
                                                         Honorable Manish S. Shah
Ocwen Loan Servicing, LLC
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 4, 2019:


        MINUTE entry before the Honorable Manish S. Shah: The briefing schedule on
plaintiff's motion to remand [11] is as follows: defendant's response is due 4/1/19;
plaintiff's reply is due 4/22/19. A status hearing is set for 6/4/19 at 9:30 a.m. Notices
mailed. (psm, )




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